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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 DIOGENES LIMITED and                                 )
 COLOSSUS (IOM) LIMITED,                              )
                                                      )
                         Plaintiffs,                  )
                                                      )    C.A. No. 21-1695 (MN) (CJB)
         v.                                           )
                                                      )
 DRAFTKINGS, INC.,                                    )
                                                      )
                         Defendant.                   )

                           STIPULATION AND [PROPOSED] ORDER
         IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that:

 1.      The time for Plaintiffs Diogenes Limited and Colossus (IOM) Limited (collectively

         “Colossus”) to move, answer, or otherwise respond to Defendant DraftKings, Inc.’s

         (“DraftKings”) Second Amended Answer, Affirmative Defenses, and Counterclaims to

         Plaintiffs’ First Amended Complaint for Patent Infringement (D.I. 143) is extended two

         weeks until September 20, 2023; and

      2. The time for DraftKings to file its reply brief in support of its Motion to Stay Pending

         Inter Partes Review (D.I. 135) is extended two weeks until September 22, 2023.
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  Dated: September 6, 2023

  DLA PIPER LLP (US)                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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  Attorneys for Plaintiff Diogenes Limited and       Attorneys for Defendant DraftKings, Inc
  Colossus (IOM) Limited


        SO ORDERED this         day of                  2023


                                                     UNITED STATES MAGISTRATE JUDGE




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